
LYONS, Justice
(concurring in part and concurring in the result in part).
I concur in Part II. However, I am troubled by the potential First Amendment implications of a restraint upon counsel’s right to contact a witness on behalf of a client, a restraint approved by Part I. Absent a demonstrated need for some restriction on that right, such as evidence showing prior conduct by counsel in violation of ethical proscriptions, such restrictions as the trial court imposed in this case could raise First Amendment free-speech issues. See Gulf Oil Co. v. Bernard, 452 U.S. 89, 104, 101 S.Ct. 2193, 68 L.Ed.2d 693 (1981). The defendant presented no such evidence in this case; neither, however, did the plaintiff claim a violation of her constitutional rights. Therefore, as to Part I, I concur in the result.
